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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

DERRICK BROWN,                         )
                                       )
      Petitioner,                      )
                                       )
v.                                     )        No. 06-cr-20180-STA-jay
                                       )
UNITED STATES OF AMERICA,              )
                                       )
      Respondent.                      )
______________________________________________________________________________

                ORDER DENYING MOTION FOR RECONSIDERATION


       Before the Court is Derrick Brown’s Brief in Support of Compassionate Release under 18

U.S.C. § 3582(c)(1)(A)(i), the First Step Act’s compassionate release provision in light of the

ongoing COVID-19 pandemic. (ECF No. 234) Because Mr. Brown has not shown that he is

entitled to relief, the motion is DENIED.

       The First Step Act authorizes courts to modify a term of imprisonment for “extraordinary

and compelling reasons” that “warrant such a deduction.” 18 U.S.C. § 3582(c)(1)(A)(i); see also

United States v. Conley, No. 18-5582, 2019 WL 2403230, at *2 (6th Cir. Jan. 9, 2019) (describing

the First Step Act’s compassionate release provision as an exception to the general rule that “a

district court may not reduce a defendant’s sentence after imposing it”) (citing United States v.

Doe, 731 F.3d 518, 522 (6th Cir. 2013)). Courts are permitted to act only on motion of (1) the

Bureau of Prisons or (2) the defendant himself after the defendant has “fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of the

defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). The Court finds that
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Defendant has exhausted his administrative remedies and, thus, will decide this motion on the

merits.

          Section 3582(c)(1)(A) gives the sentencing court discretion to “reduce the term of

imprisonment” and replace “the unserved portion of the original term of imprisonment” with a

term of supervised release. Id. The Court must first find that “extraordinary and compelling

reasons warrant such a reduction” and “that such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” § 3582(c)(1)(A)(i); see also United States v.

Kincaid, 802 F. App’x 187 (6th Cir. 2020). 1          Under the Sentencing Commission’s policy

statement, U.S.S.G. § 1B1.13, the following circumstances constitute “extraordinary and

compelling reasons” for relief: (1) the inmate’s medical condition; (2) the inmate’s age and the

amount of his sentence served; (3) the needs of the inmate’s spouse or minor children; and (4)

other reasons “[a]s determined by the Director of the Bureau of Prisons.” U.S.S.G. § 1B1.13 cmt.

n.1. Courts have interpreted the “[a]s determined by the Director of the Bureau of Prisons”

language to “include any ‘other reasons’ defined by the Bureau of Prison's Program Statement

5050.[50](4) (‘BOP Statement’)” on compassionate release. United States v. McDonald, No. 94-

CR-20256-1, 2020 WL 3166741, at *2 (W.D. Tenn. June 8, 2020).

          In the instant Motion, Mr. Brown argues that he is entitled to relief under the fourth prong

of the Sentencing Commission’s policy statement. The “other reasons” that Mr. Brown cites to

are 1) the COVID-19 pandemic; 2) “Attorney General William Barr’s directives to the F.B.O.P.




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  The statute also permits relief in cases when “the defendant is at least 70 years of age, has served
at least 30 years in prison, pursuant to a sentence imposed under section 3559(c), for the offense
or offenses for which the defendant is currently imprisoned, and a determination has been made
by the Director of the Bureau of Prisons that the defendant is not a danger to the safety of any other
person or the community, as provided under section 3142(g).” § 3582(c)(1)(A)(ii). This paragraph
is not relevant in Defendant’s case.
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director Michael Carvajal dealing with the COVID-19 pandemic under the Cares Act to warrant

compassionate release.”; 3) his medical and mental health diagnosis; and 4) his “unusually long”

sentence which he claims is illegal and unconstitutional.

        The Court finds that Mr. Brown does not meet the requirements for compassionate release

because he has not demonstrated extraordinary and compelling reasons for a sentence reduction.

Mr. Brown cannot meet any of the criteria under the Sentencing Commission’s policy statement

at U.S.S.G. § 1B1.13. First, Mr. Brown has not shown that his medical conditions qualify him for

relief. Indeed, Mr. Brown has not specified the medical conditions that he suffers from, only

making oblique mention of “medical and mental health diagnoses.” Mr. Brown does not allege

that he suffers from a “terminal illness,” defined as “a serious and advanced illness with an end of

life trajectory.” U.S.S.G. § 1B1.13 cmt. n.1(A)(i). And, Mr. Brown has not shown that his capacity

to provide self-care in a correctional facility has been substantially diminished by his suffering

from “a serious physical or medical condition,” “a serious functional or cognitive impairment,” or

“deteriorating physical or mental health because of the aging process.” U.S.S.G. § 1B1.13 cmt.

n.1(A)(ii).    The Court finds that Mr. Brown has not shown that his health status is an

“extraordinary and compelling” reason for compassionate release, because he has not shown that

his capacity to provide self-care in a correctional facility has been substantially limited.

        Likewise, Mr. Brown’s age does not qualify as grounds for compassionate release. A

defendant may request a sentence reduction based on his age when the defendant is at least sixty-

five years old, “is experiencing a serious deterioration in physical or mental health because of the

aging process,” and has served at least ten years or seventy-five percent of his term of

imprisonment whichever is less. U.S.S.G. § 1B1.13 cmt. n.1(B). Mr. Brown is currently forty-six

years old. Mr. Brown cannot meet the requirements for age-based compassionate release for this
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reason alone. Nor has Mr. Brown demonstrated that his health is seriously deteriorating or that he

has served the lesser of 10 years or 75 percent of his sentence. The Court sentenced Mr. Brown to

a term of incarceration 387 months. See Judgment, March 7, 2008 (ECF No. 122.). Mr. Brown’s

projected release date is January 6, 2035. Thus, Mr. Brown cannot show that he meets any of the

requirements for relief based on his age.

       Mr. Brown has not argued that his family circumstances warrant a sentence reduction. The

policy statement defines “the death or incapacitation of the caregiver of the defendant’s minor

child or minor children” or “the incapacitation of the defendant’s spouse or registered partner when

the defendant would be the only available caregiver for the spouse or registered partner” as family

needs that could justify compassionate release. U.S.S.G. § 1B1.13 cmt. n.1(C). Mr. Brown has

not alleged that any minor child(ren) or spouse is in need of his care. Thus, Mr. Brown’s family

situation does not rise to the level of an “extraordinary and compelling” reason for sentence

reduction.

       The Court lastly finds that Mr. Brown has not cited any other reason that might qualify as

“extraordinary and compelling” grounds for compassionate release and a reduced sentence. Mr.

Brown indicates that he has concerns about COVID-19 spreading to his facility. The Court is

mindful of the unprecedented magnitude of the COVID-19 pandemic and the extremely serious

health risks it presents. While the Court takes Mr. Brown’s concerns very seriously, the impact of

COVID-19 on Mr. Brown’s conditions of confinement remains speculative at this point. Further,

Mr. Brown’s allegations that his sentence is illegal or unconstitutional are frivolous. This Court

has previously addressed Mr. Brown’s request for resentencing under the First Step Act. See Order

Denying Defendant’s Motion for Reduced Sentence Pursuant to the First Step Act of 2018, March

2, 2020 (ECF No. 222). At that time, the Court reviewed Mr. Brown’s sentence, noting that, based
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on his prior drug crimes, the determination that he was an Armed Career Criminal, and his criminal

history category of VI, a Guidelines range of 262 to 327 months, the range relied upon at

sentencing, was appropriate. Defendant further appealed his sentence and conviction and the

United States Court of Appeals for the Sixth Circuit affirmed the Court’s judgment. United States

v. Brown, Nos. 08–5319/5402/5515 (6th Cir. June 19, 2009).

       Alternatively, Mr. Brown’s request for a sentence reduction is denied because he has failed

to demonstrate that he is not a danger to the safety of the community or otherwise merits release

under the § 3553(a) factors. Under the applicable policy statement, the Court must deny a sentence

reduction unless it determines the defendant “is not a danger to the safety of any other person or

to the community.” USSG § 1B1.13(2). Additionally, this Court must consider the § 3553(a)

factors, as “applicable,” as part of its analysis. See § 3582(c)(1)(A); United States v. Chambliss,

948 F.3d 691, 694 (5th Cir. 2020). Here, the § 3553(a) factors disfavor a sentence reduction.

       Although Mr. Brown characterizes himself as a “first-time and non-violent federal offender

of four simple possession counts,” both the facts underlying the instant crimes for which he was

convicted, and Mr. Brown’s criminal history suggests otherwise. The instant offense involved Mr.

Brown robbing an off-duty police officer’s car and using the officer’s bullet proof vest and latex

gloves stored in the car to rob another person at gunpoint. The Court cannot determine that Mr.

Brown will not present a danger to the safety of the community upon release. Additionally, Mr.

Brown has over twenty-six convictions, several of which involve assault, sexual battery, attempted

rape, and gun crimes. Further, Mr. Brown’s record reveals that he has been unsuccessful in

meeting the conditions of probation in the past, indicating that he will have difficulty in adhering

to the Court’s conditions of early release in this instance.
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       To release Mr. Brown after having served less than half of his sentence would minimize

the offense and Mr. Brown’s criminal history, as well as fail to reflect the seriousness of the

offense, promote respect for the law, provide just punishment, afford adequate deterrence, or

protect the public from further criminal conduct.

       Mr. Brown cannot meet the criteria for compassionate release; therefore, his motion must

be DENIED.

       IT IS SO ORDERED.

                                             s/ S. Thomas Anderson
                                             S. THOMAS ANDERSON
                                             CHIEF UNITED STATES DISTRICT JUDGE

                                             Date: November 9, 2020.
